          Case 8:23-bk-10571-SC                  Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38                                       Desc
                                                  Main Document     Page 1 of 7



 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address

 Brian L. Holman (SBN No. 94603)
 Musick, Peeler & Garrett LLP
 333 South Hope Street, Suite 2900
 Los Angeles, CA 90071
 Telephone: 213-629-7711
 Facsimile 213-624-1376
 b.holman@musickpeeler.com




      Individual appearing without attorney
      Attorney for: Sharp Electronics Corporation

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION                                       DIVISION

 In re:                                                                       CASE NO.: 8:23-bk-10571-SC
                                                                              CHAPTER: 11
THE LITIGATION PRACTICE GROUP, P.C.,
                                                                              NOTICE OF MOTION FOR:
                                                                              ALLOWANCE OF AN ADMINISTRATIVE
                                                                              CLAIM




                                                                              (Specify name of Motion)

                                                                              DATE: 01/19/2024
                                                                              TIME: 11:00 am
                                                                              COURTROOM: 5C
                                                                              PLACE: 411 W. Fourth Street
                                                                                       Santa Ana, CA 92701
                                                              Debtor(s).

                       ALL INTERESTED PARTIES
1. TO (specify name): _____________________________________________________________________________

2. NOTICE IS HEREBY GIVEN that on the following date and time and in the indicated courtroom, Movant in the above-
   captioned matter will move this court for an Order granting the relief sought as set forth in the Motion and
   accompanying supporting documents served and filed herewith. Said Motion is based upon the grounds set forth in
   the attached Motion and accompanying documents.

3. Your rights may be affected. You should read these papers carefully and discuss them with your attorney, if you
   have one. (If you do not have an attorney, you may wish to consult one.)




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                             Page 1                          F 9013-1.1.+($5,1*NOTICE
       Case 8:23-bk-10571-SC                   Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38                                       Desc
                                                Main Document     Page 2 of 7


4. Deadline for Opposition Papers: This Motion is being heard on regular notice pursuant to LBR 9013-1. If you wish
   to oppose this Motion, you must file a written response with the court and serve a copy of it upon the Movant or
   Movant’s attorney at the address set forth above no less than fourteen (14) days prior to the above hearing date. If
   you fail to file a written response to this Motion within such time period, the court may treat such failure as a waiver of
   your right to oppose the Motion and may grant the requested relief.

5. Hearing Date Obtained Pursuant to Judge’s Self-Calendaring Procedure: The undersigned hereby verifies that
   the above hearing date and time were available for this type of Motion according to the judge’s self-calendaring
   procedures.


Date: 11/28/2023                                                               Musick, Peeler & Garrett LLP
                                                                               Printed name of law firm




                                                                               /s/ Brian L. Holman
                                                                                Signature


                                                                               Brian L. Holman
                                                                               Printed name of attorney

Please note that for hearings utilizing ZoomGov accessibility information will be provided by the
Court in its tentative ruling prior to the hearing, and parties may obtain such accessibility information
on Judge Clarkson's posted hearing calendar which may be viewed online at: http://
ecf-ciao.cacb.uscourts.gov/CiaoPosted/?jid=SC.




         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 2                              )+($5,1*127,&(
       Case 8:23-bk-10571-SC                   Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38                                       Desc
                                                Main Document     Page 3 of 7



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

Musick, Peeler & Garrett LLP, 333 S. Hope Street, Suite 2900, Los Angeles, California 90071

A true and correct copy of the foregoing document entitled: NOTICE OF MOTION FOR (specify name of motion)
 ALLOWANCE OF AN ADMINISTRATIVE CLAIM
_______________________________________________________________________________________________
_______________________________________________________________________________________________
will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/28/2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/28/2023 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 11/28/2023        Anita S. Lee                                                      /s/ Anita S. Lee
 Date                       Printed Name                                                    Signature


         This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

December 2012                                                        Page 3                             )+($5,1*127,&(
          Case 8:23-bk-10571-SC      Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38              Desc
                                      Main Document     Page 4 of 7


                                                 Attachment to

                                     PROOF OF SERVICE OF DOCUMENT


I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
Ronald K Brown ron@rkbrownlaw.com
Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
Randall Baldwin Clark rbc@randallbclark.com
Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
Aaron E. DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
Jenny L Doling jd@jdl.law,
dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net
Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
William P Fennell william.fennell@fennelllaw.com,
luralene.schultz@fennelllaw.com;wpf@ecf.courtdrive.com;hala.hammi@fennelllaw.com;naomi.cwalinski@fennelllaw.com;
samantha.larimer@fennelllaw.com
Christopher Ghio christopher.ghio@dinsmore.com,
nicolette.murphy@dinsmore.com;angelica.urena@dinsmore.com;deamira.romo@dinsmore.com
Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
Jeffrey I Golden jgolden@go2.law,
kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeffreyi.b117954@n
otify.bestcase.com
Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
David M Goodrich dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
D Edward Hays ehays@marshackhays.com,
ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.courtdrive.co
m
Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
Richard L. Hyde richard@amintalati.com
Razmig Izakelian razmigizakelian@quinnemanuel.com
Joon M Khang joon@khanglaw.com
Ira David Kharasch ikharasch@pszjlaw.com
Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
Christopher J Langley chris@slclawoffice.com,
omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
Matthew A Lesnick matt@lesnickprince.com, matt@ecf.inforuptcy.com;jmack@lesnickprince.com
Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
Britteny Leyva bleyva@mayerbrown.com,
2396393420@filings.docketbird.com;KAWhite@mayerbrown.com;ladocket@mayerbrown.com
Michael D Lieberman mlieberman@lipsonneilson.com
Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
Mitchell B Ludwig mbl@kpclegal.com, kad@kpclegal.com
Daniel S March marchlawoffice@gmail.com, marchdr94019@notify.bestcase.com
Kathleen P March kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net
Richard A Marshack (TR) pkraus@marshackhays.com,
rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com

Notice of Motion Service List.docx                     4
          Case 8:23-bk-10571-SC          Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38        Desc
                                          Main Document     Page 5 of 7


Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
Kenneth Misken Kenneth.M.Misken@usdoj.gov
Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com
Glenn D. Moses gmoses@venable.com, cascavone@venable.com;ipmalcolm@venable.com;jadelgado@venable.com
Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
Victoria Newmark vnewmark@pszjlaw.com
Queenie K Ng queenie.k.ng@usdoj.gov
Keith C Owens kowens@foxrothschild.com, khoang@foxrothschild.com
Lisa Patel lpatel@lesnickprince.com, jmack@lesnickprince.com;jnavarro@lesnickprince.com
Michael R Pinkston rpinkston@seyfarth.com,
jmcdermott@seyfarth.com,sfocalendar@seyfarth.com,5314522420@filings.docketbird.com,bankruptcydocket@seyfarth.c
om
Douglas A Plazak dplazak@rhlaw.com
Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
Kevin Alan Rogers krogers@wellsmar.com
Gregory M Salvato gsalvato@salvatoboufadel.com,
calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
Olivia Scott olivia.scott3@bclplaw.com
Jonathan Serrano jonathan.serrano@dinsmore.com
Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
Zev Shechtman zs@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
Leslie Skorheim leslie.skorheim@usdoj.gov
Adam D Stein-Sapir info@pfllc.com
Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;NEF-BK@gtlaw.com;howard-steinberg-
6096@ecf.pacerpro.com
Andrew Still astill@swlaw.com, kcollins@swlaw.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
Sharon Z. Weiss sharon.weiss@bclplaw.com, raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com

II. SERVED BY UNITED STATES MAIL:

 Judge (U.S. Mail)                                  Debtor (U.S. Mail)
 Hon. Scott C. Clarkson                             The Litigation Practice Group P.C.
 U.S. Bankruptcy Court                              17542 17th St
 Ronald Reagan Federal Building                     Suite 100
 411 W. Fourth Street, Suite 5130                   Tustin, CA 92780
 Santa Ana, CA 92701

 Parties Requesting Notice (U.S. Mail)

 Melina Beltran
 22700 Lake Forest Dr, Apt 131
 Lake Forest, CA 92630

 Michael Chekian
 Chekian Law Office
 445 South Figueroa Street, 31st Floor
 Los Angeles, CA 90071

 Raul E De Quesada
 7947 S.W. 104 St, Apt. C-101
 Miami, FL 33156

Notice of Motion Service List.docx                      5
          Case 8:23-bk-10571-SC      Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38   Desc
                                      Main Document     Page 6 of 7




 Dinsmore & Shohl LLP
 655 W Broadway Ste 800
 San Diego, Ca 92101

 Force Ten Partners LLC
 5271 California Ave Ste 270
 Irvine, CA 92617

 Fox Rothschild LLP
 10250 Constellation Blvd Ste 900
 Los Angeles, CA 90067

 Grobstein Teeple LLP
 Grobstein Teeple LLP
 23832 Rockfield Blvd suite 245
 Lake Forest, CA 92630

 Marshack Hays LLP
 870 Roosevelt
 Irvine, CA 92620

 Teri Pham
 Enenstein, Pham and Glass
 3200 Bristol Street
 Suite 500
 Costa Mesa, CA 92626

 Nancy B. Rapoport
 University of Nevada, Las Vegas
 4505 S. Maryland Parkway
 Box 451003
 Las Vegas, NV 89154

 Judith Skiba
 PO Box 1016
 Pascagoula, MS 39568

 Jason Patterson Stopnitzky
 52 Cupertino Circle
 Aliso Viejo, CA 92656

 Lucy L. Thomson
 1455 Pennsylvania Avenue, N.W.
 Suite 400
 Washington, DC 20004

 Kimberly Torres
 1177 W Chateau Ave
 Anaheim, CA 92802

 Belinda Vega
 Venable LLP

Notice of Motion Service List.docx                  6
          Case 8:23-bk-10571-SC      Doc 730 Filed 11/28/23 Entered 11/28/23 11:57:38   Desc
                                      Main Document     Page 7 of 7


 2049 Century Park East, Ste. 2300
 Los Angeles, CA 90067

 Melissa A Wilkes
 8888 Keystone Crossing Pkwy Ste 300
 Indianapolis, IN 46240


III. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served):


None.




Notice of Motion Service List.docx                  7
